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 7

 8                              UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                            SAN FRANCISCO

11                                                Case No. 3:21-md-02981-JD
     IN RE GOOGLE PLAY STORE
12   ANTITRUST LITIGATION                         NON-PARTY AMAZON.COM LLC’S
                                                  REQUEST TO SEAL HIGHLY
13   THIS DOCUMENT RELATES TO:                    CONFIDENTIAL INFORMATION

14   Epic Games, Inc. v. Google LLC et al.,       Honorable James Donato
     Case No. 3:20-cv-05671-JD
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               NON-PARTY AMAZON.COM LLC’S REQUEST TO SEAL HIGHLY CONFIDENTIAL INFORMATION
                                   3:21-md-02981-JD, 3:20-cv-05671-JD
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 1            Non-party Amazon.com LLC (“Amazon”) respectfully moves under Local Rule 79-5 and

 2   the Court Order, Dkt. 727, to seal the courtroom for limited portions of the deposition testimony of

 3   Amazon and to seal trial exhibits that were produced by Amazon. Amazon previously filed an

 4   urgent request to seal, based upon Epic’s earlier notice over the weekend. No. 3:21-md-02981-JD,

 5   Dkt. 737. Since this time, Amazon has had the opportunity to further review the documents with

 6   the relevant business leaders and now requests that only a smaller subset of documents and

 7   testimony be sealed. 1

 8            Amazon recognizes the strong public interest in access to trial proceedings and judicial

 9   records. Nonetheless, sealing of judicial records is appropriate when “compelling reasons”

10   overcome that presumption. See Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180

11   (9th Cir. 2006); Fed. Trade Comm’n v.Qualcomm Inc., No. 17-CV-00220-LHK, 2019 WL 95922,

12   at *3 (N.D. Cal. Jan. 3, 2019) (confidential contracts, contract negotiations, and discussions of

13   business strategy were compelling reasons); Krieger v. Atheros Commc’ns, Inc., No. 11-CV-

14   00640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. June 25, 2011) (long-term financial projections

15   were compelling reasons). Non-party interests in confidential information are particularly strong.

16   See In re Adobe Systems, Inc. Sec. Litigation, 141 F.R.D. 155, 161-62 (N.D. Cal. 1992). Amazon

17   outlines the concrete harm that it will suffer from the disclosure of certain information, which is

18   sufficient to meet the “compelling reasons” standard. In re Electronic Arts, 298 Fed. Appx. 568,

19   569 (9th Cir. 2008); Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1226 (Fed. Cir. 2013);

20   Powertech Tech., Inc. v. Tessera, Inc., 2012 U.S. Dist. LEXIS 75831, at *4 (N.D. Cal. May 31,

21   2012).

22            Most notably, the deposition and exhibits include testimony about specific and detailed

23   1
       Amazon notes that the Plaintiff failed to provide reasonable notice of the intended use of Amazon
     material that was produced as Highly Confidential/Attorneys Eyes Only Non Party Information. The
24   Protective Order requires at least four business days notice of the intent to use this material, but Epic
     provided notice of the intended exhibits on November 4 and of the intended videotaped deposition
25   designations on November 1, less than the required four business days notice. When Amazon
     pointed out the failure to meet the notice provisions in the Protective Order and sought the required
26   time to analyze the material for potential sealing, Plaintiff agreed not to display this material in court
     until November 7. Therefore Amazon did not file this motion on November 5 by 5:00 PM. Then, at
27   8:30 pacific time on Sunday November 5, Epic changed course and asserted that it may display the
     Amazon deposition the following day and actually added two new exhibits to the possible
28   disclosure.
                                                       1
                 NON-PARTY AMAZON.COM LLC’S REQUEST TO SEAL HIGHLY CONFIDENTIAL INFORMATION D
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 1   contract terms that Amazon has with the top 30 largest app developers. These terms are

 2   confidential and only known to Amazon and the specific developer. If app developers learn about

 3   the terms that other app developers have with Amazon, they can use that in negotiations to harm

 4   Amazon. Similarly if other app store providers learn of the terms that Amazon uses, they could

 5   use that information to gain an unfair advantage over Amazon.

 6     Deposition           Document           Portion       Reason(s) for sealing request
       Exhibit Number       description        sought to
 7     (Bates Number)                          be sealed
       Exhibit 1362         Amazon App         Seal       Discloses contractual terms between
 8     (AMZ-                Developer Key      entirety   Amazon and 30 largest app developers;
       GP_00001492)         Terms Chart                   if developers had this information, they
 9                                                        could use it to harm Amazon in
                                                          negotiations with Amazon; if
10                                                        competitors had this information, they
                                                          could use it to disadvantage Amazon.
11     Exhibit 1369         2020 Q2 QPR        Seal       Detailed business planning document
       (AMZ-                Appstore and       entirety   that contains forward looking sales
12     GP_00002484)         Cross Screen                  projections, strategic plans for future
                            Tech                          initiatives, and future target business
13                                                        partners. If Amazon’s competitors or
                                                          the target business partners listed in the
14                                                        document had access to this
                                                          information, they could use it to obtain
15                                                        a business advantage in negotiations or
                                                          in their competing businesses.
16     Exhibit 1364         Appstore data      Seal       Detailed financial information that on
       (AMZ-                pulled for         entirety   Summary_3 shows Amazon’s
17     GP_00005729)         purposes of                   contractual revenue share with
                            litigation                    developers. This information could be
18                                                        used by developers to harm Amazon in
                                                          negotiations and by competitors.
19                                                        Summary_4 similarly shows effective
                                                          developer revenue broken down by
20                                                        category and could be used against
                                                          Amazon in negotiations.
21     Exhibit 1406         2021 Appstore      Redact all Contains Amazon’s confidential
       (AMZ-                Experience Final   portions   analysis of its app store and other app
22     GP_00001672)         Review             marked     stores. If disclosed, Amazon’s
                                               “Response” competitors could use this information
23                                                        to disadvantage Amazon in contract
                                                          negotiations, in their own business
24                                                        strategy, or in advertising or marketing
                                                          about Amazon.
25
       Exhibit 1366         Spelljammer        Redact     Redact only pages 13 & 14, which
26     (AMZ-                                   portion    contain forward looking financial
       GP_00003257)                                       projections; if a competitor had access
27                                                        to these financial projections, it could
                                                          cause competitive harm to Amazon.
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               NON-PARTY AMAZON.COM LLC’S REQUEST TO SEAL HIGHLY CONFIDENTIAL INFORMATION D
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 1           Amazon also seeks to seal the following limited portions of the deposition of Amazon’s

 2   witness, that the parties intend to play at trial:

 3
       Line Number                   Document                  Reason(s) for sealing request
 4                                   Description
       71:11 – 71:16                 Custom Appstore           Discloses contractual terms between
 5     73:20 – 73:24                 terms                     Amazon and app developers; if developers
       74:3 – 74:5                                             had this information, they could use it to
 6     74:12 – 74:15                                           harm Amazon in negotiations with
                                                               Amazon; if competitors had this
 7                                                             information, they could use it to
                                                               disadvantage Amazon on their own
 8                                                             negotiations with developers.
       87:15 – 87:20                 Average Appstore          Discloses an average of Appstore
 9     87:24 – 87:25                 commissions rates         commission rate across Amazon’s
                                                               contracts with developers; disclosure of
10                                                             this information to developers would harm
                                                               Amazon in its negotiations with
11                                                             developers; disclosing it to competitors
                                                               would allow competitors to disadvantage
12                                                             Amazon in their negotiations with
                                                               developers.
13     95:1-19                       Appstore transactions     Contains Amazon’s confidential financial
                                     and revenue               information about the number of
14                                   information               transactions by device type; information is
                                                               not available outside of Amazon; if
15                                                             disclosed it could be used to harm
                                                               Amazon’s competitive position.
16     100:5 – 100:8                 Expense and               Contains Amazon’s confidential financial
       100:11 – 100:12               profitability             information about its expenses and
17     101:20 - 102:3                information               profitability; if disclosed to competitors or
                                                               business partners, it could be used to harm
18                                                             Amazon’s competitive position.
19
             Amazon respectfully requests that the above portions of the deposition of Amazon and the
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     above documents be displayed only in a sealed courtroom.
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     Dated: November 6, 2023                                  SIDLEY AUSTIN LLP
22
                                                      By:     /s/ Sarah A. Hemmendinger
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